CASE 0:25-cv-01948-KMM-DJF

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Steve Salvador Ybarra
Self-Represented
Pro Se Litigant,

Plaintiff,
v.

Legal Assistance of Dakota County;
Sharon Jones Esq., in her Individual and
Official capacities;

Hon. David Lutz, in his individual and
Official capacities;

Hon. Tanya Obrien, in her individual and
official capacities;

Hon. Dannia L Edwards, in her individual
and official capacities;

Lydia Clemens, in her individual and
official capacities;

Michelle Cathleen Ybarra,

Defendants.

Doc. 23

TO THE HONORABLE COURT:

Filed 05/14/25 Pagelof8

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MINNESOTA

No. . 0:25-cv-01948-KMM-DJF

PLAINTIFF’S MOTION FOR
PRELIMINARY INJUNCTION
(Fed. R. Civ. P. 65(a))

Pursuant to Rule 65(a) of the Federal Rules of Civil Procedure, Plaintiff STEVE SALVADOR
YBARRA respectfully moves for a Preliminary Injunction enjoining the enforcement of all child

custody orders, discovery rulings, protective orders, and adverse judicial actions arising out of

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SCANNED

MAY 14 2025.
U.S. DISTRICT COURT MPLS

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Dakota County Family Court Case No. 19AV-FA-24-839. The motion arises in light of verified,
unrebutted evidence of constitutional violations, judicial bias, and institutional entrenchment now

infecting the proceedings below.

I. RELIEF REQUESTED
Plaintiff seeks an order enjoining:
1. Further enforcement of all custody, parenting time, and supervised visitation orders issued
in Case No. 1[9VAV-FA-24-839;
2. Any continued adjudication or hearing by Judge David Lutz pending federal review;
3. Enforcement or reliance upon any Guardian ad Litem reports authored by Lydia Clemens;
4. Enforcement of any protective orders or sealed discovery rulings insulating Legal
Assistance of Dakota County (LADC) or Sharon Jones, Esq.;
5. Any trial proceedings scheduled for June 2025 absent first adjudicating Plaintiff's Rule

60.02(d) and fraud-based motions.

II. GROUNDS FOR INJUNCTION

This case implicates the systemic abuse of judicial discretion, deployment of sealed evidence to
insulate perjury, and a family court's alignment with an enterprise consisting of Legal Aid
attorneys, a discredited GAL, and a bench unwilling to recuse despite named federal complaint

exposure. Immediate intervention is required to prevent irreversible constitutional harm.

il. FACTUAL SUMMARY
The record now shows:

¢ No adjudication of unfitness, abuse, or neglect has ever been entered against Plaintiff;

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1.

A discredited GAL, Lydia Clemens, admitted under oath to relying on rescinded CPS
findings—then reaffirmed her position based on unverified, speculative behavioral
theories;

Judge David Lutz refused to recuse despite confirmed prior pro bono representation for
LADC and current federal complaint naming LADC and Sharon Jones as central actors;
Lutz has sealed fee affidavits, denied all discovery into LADC's intake fraud, and issued
protective orders while refusing evidentiary review;

The state court’s exercise of jurisdiction is void ab initio under Minn. Stat. §
518D.201(a)(1) (UCCJEA) and H.M.B. v. E.T.M., 2022 WL 897216—as Minnesota
lacked six-month home state jurisdiction;

Plaintiff's four separate Rule 60.02(d) motions have been ignored, leaving no state

remedy.

IV. LEGAL STANDARD

Under Winter v. Natural Res. Def. Council, 555 U.S. 7 (2008), Plaintiff must demonstrate:

Likelihood of Success on the Merits — The facts show live due process violations,
entrenched conflict of interest, and federal questions of constitutional gravity under 42
U.S.C. § 1983 and RICO § 1962.

Irreparable Harm — Plaintiff is deprived of contact with his minor children, blocked
from discovery, and now faces a rigged trial process based on fraud and sealed evidence.
Balance of Equities — Weighs decisively in favor of Plaintiff, who has exhausted all state
remedies and seeks only a stay of flawed proceedings.

Public Interest — Ensures the integrity of judicial forums and constitutional adjudication.

Courts cannot function as vehicles for sealed fraud and unchecked bias.

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V. LEGAL FRAMEWORK

A. Fraud Upon the Court (Hazel-Atlas, 322 U.S. 238 (1944))

When courts rely on fraudulent evidence or ghostwritten affidavits submitted by public legal aid
under sealed orders, the entire proceeding is compromised. The refusal to adjudicate Rule
60.02(d) motions is not discretionary—it is abdication.

B. Judicial Bias & Recusal (Caperton v. A.T. Massey, 556 U.S. 868 (2009))

Judge Lutz’s refusal to recuse, despite admitted ties to a party currently under federal RICO
scrutiny, violates the constitutional requirement of impartial adjudication. The appearance of bias
is sufficient grounds for recusal.

C. UCCJEA Jurisdictional Collapse (Minn. Stat. § 518D.201)

Custody orders issued without home state jurisdiction are void. A court without subject matter
jurisdiction may not proceed. H.M.B. makes clear: jurisdiction cannot be waived by
counterpetition.

D. Due Process Violations (Mathews v. Eldridge, 424 U.S. 319 (1976))

Plaintiff has been denied meaningful hearings, blocked from presenting critical discovery, and

forced to defend against ghostwritten accusations submitted under the cover of sealed filings.

VI. CONCLUSION

This is not merely a custody dispute—it is now a live constitutional emergency. The state court
has become an instrument of entrenchment, not adjudication. This Court must act.

Plaintiff invokes the full equitable authority of this Court under Pulliam v. Allen, 466 U.S. 522
(1984), which authorizes prospective injunctive relief against judicial officers engaged in ongoing

constitutional violations. Plaintiff does not seek damages—but federal intervention to halt

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relief:

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unlawful custody restrictions, discovery suppression, and forum bias.

VII. PRAYER FOR RELIEF

Plaintiff respectfully prays this Court issue a Preliminary Injunction:

WHEREFORE, Plaintiff respectfully requests that this Court grant the following immediate

Enjoin all proceedings in Dakota County Family Court Case No. 19AV-FA-24-839,
including but not limited to custody, parenting time, evidentiary motions, trial settings,
and protective orders, pending resolution of this federal action;

Stay the enforcement of all custody and supervised visitation orders issued by the
Dakota County District Court as constitutionally tainted, jurisdictionally void, and
procedurally infected by sealed fraud;

Compel Legal Assistance of Dakota County and Sharon Jones, Esq. to immediately
produce intake records, screening forms, and income verification documents
submitted by Michelle Ybarra in support of her claim for indigent public legal services,
covering the period from January 2024 through April 2024;

Order Sharon Jones and LADC to cease representation of Michelle Ybarra in Case
No. 19AV-FA-24-839 pending resolution of federal allegations of ghostwriting, fraud
upon the court, and obstruction of discovery, as their continued participation creates an
irreconcilable conflict of interest under Hazel-Atlas, Dennis v. Sparks, and Caperton
standards;

Prohibit the enforcement, reliance, or future issuance of any protective orders

shielding Legal Aid intake records, fee affidavits, or GAL reports, and require

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disclosure of any sealed financial documents used to justify indigency-based legal aid
access;

6. Bar Judge David Lutz and Guardian ad Litem Lydia Clemens from further
involvement in proceedings related to this matter, pending outcome of this federal
complaint, due to unrebutted evidence of bias, entrenched misconduct, and conflict of
interest;

7. Order expedited briefing and schedule a hearing within 14 days pursuant to Rule
65(a), with interim preservation of the status quo until such hearing occurs;

8. Grant such other and further relief as the Court deems just and proper to prevent
irreparable constitutional injury and to restore Plaintiff's access to a neutral and lawful

judicial forum.

Respectfully submitted,

/s/ Steve Salvador Ybarra

Steve Salvador Ybarra

Pro Se Litigant

California | Minnesota

Email: Steve@Theory Werkx.com
Phone: (612) 544-4380

CERTIFICATE OF SERVICE
I hereby certify that on May 12, 2025, I served a true and correct copy of the attached:
PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

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(Fed. R. Civ. P. 65(a))

upon the following parties by email and/or U.S. Mail:

e Legal Assistance of Dakota County
Email: admin@dakotalegal.org

e Sharon Jones, Esq., in her individual and official capacities
Legal Assistance of Dakota County
Email: sjones@dakotalegal.org

e Hon. David Lutz, in his individual and official capacities
Dakota County District Court
1560 Highway 55, Hastings, MN 55033
Email: Raymond.mestad@courts.state.mn.us

¢ Hon. Tanya O’Brien, in her individual and official capacities
Dakota County District Court
1560 Highway 55, Hastings, MN 55033
Email:

¢ Hon. Dannia L. Edwards, in her individual and official capacities
Dakota County District Court
1560 Highway 55, Hastings, MN 55033
Email:

e Lydia Clemens, Guardian ad Litem, in her individual and official capacities
First Judicial District GAL Program
Email: Lydia.clemens@courts.state.mn.us

¢ Michelle Cathleen Ybarra, Respondent
Email: shellbell @hotmail.com
This notice was served to all named parties via email where available and U.S. Mail where

necessary, consistent with Fed. R. Civ. P. 5(b) and Local Rule 7.1.

Respectfully submitted,

/s/ Steve Salvador Ybarra

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Pro Se Litigant

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(612) 544-4380
Executed May 12, 2025

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